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10
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11   UNITED STATES OF AMERICA
12                           UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                No. CR 20-00224(A)-RGK

15              Plaintiff,                    OPPOSITION TO DEFENDANT’S MOTION
                                              TO DISMISS FIRST SUPERSEDING
16                   v.                       INDICTMENT; OR IN THE ALTERNATIVE,
                                              AN ORDER COMPELLING DISCOVERY AND
17   BABAK BROUMAND,                          CONTINUING TRIAL DATE (DKT. 88);
                                              DECLARATION OF RUTH C. PINKEL;
18              Defendant.                    EXHIBITS

19                                            Date:     December 27, 2021
                                              Time:     1:30 p.m.
20                                            Location: Courtroom 850 Roybal
                                              Federal Building
21
                                              [UNDER SEAL DECLARATION AND
22                                            EXHIBITS FILEDS SEPARATELY]

23
          Plaintiff United States of America, by and through its counsel
24
     of record, the Acting United States Attorney for the Central District
25
     of California and Assistant United States Attorneys Ruth C. Pinkel
26
     and Michael Morse, hereby files its opposition to “Defendant’s Motion
27

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1    To Dismiss First Superseding Indictment; Or In The Alternative, An

2    Order Compelling Discovery And Continuing Trial Date” (Dkt. 88).

3         This opposition is based upon the attached memorandum of points

4    and authorities, the Declaration of Ruth C. Pinkel, including under

5    seal portions concurrently filed under seal, and attached exhibits,

6    the files and records in this case, and such further evidence and

7    argument as the Court may permit.

8     Dated: December 6, 2021             Respectfully submitted,

9                                         TRACY L. WILKISON
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10
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11                                        Assistant United States Attorney
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12

13                                          /s/ Ruth C. Pinkel
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14                                        MICHAEL MORSE
                                          Assistant United States Attorneys
15
                                          Attorneys for Plaintiff
16                                        UNITED STATES OF AMERICA

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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.   INTRODUCTION

3         Eight weeks before trial, while constantly expanding his

4    discovery demands, including discovery first requested in this motion

5    (Items 5, 6, and 10), overlooking discovery already produced, and

6    discovery the government said it will provide (Ex. 1 (letter) at 3,

7    6-7), defendant demands dismissal or continuance.          Defendant’s motion

8    is meritless and wastes this Court’s resources.

9         Although he complains of “an ongoing river of discovery” (mot.
10   at 5), the quantity of discovery produced bears a direct relationship
11   to defendant’s continual, and continually changing demands.
12   Defendant’s ever increasing demands are surely a tactic aimed at both
13   a desire to make the government “go away” and to manufacture a
14   discovery dispute.     Discovery letters attached to the motion provide
15   a perfect representative sample of just a two-week span in March
16   2021, when his requests ballooned from 17 civil discovery-type
17   interrogatory and/or document requests to 67.         (See Ex E-G; see also
18   Ex. 1 (Nov. 8, 2021 letter response to defense regarding 20

19   additional requests).)

20        While objecting to these demands, and without waiving

21   objections, the government has nonetheless attempted to accommodate

22   defendant in a reasonable manner.       For example, in the government’s

23   production of over 105,000 pages thus far, defendant has received

24   full discovery of information from the companion Cisneros case (CR

25   21-51(A)-RGK) and other matters outlined in the Pinkel Declaration. 1

26

27        1 Page numbers are increasing because telephone, casino, and
     financial records, many related to Cisneros, are produced via long
28   spreadsheets, with multiple tabs. Each tab must be converted to pdf
     in a time-consuming process for bates numbering/proof of production.
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1    (Pinkel Dec. ¶¶ 5-6.)     There are not large gaps in Brady, Giglio, or

2    Jencks discovery left to produce.       While the directly relevant

3    reports have been produced, the government said it would produce

4    more, which are primarily on collateral matters, thus not technically

5    Jencks. (Ex. 1, response to Items 4-5, 13-14.)          Other specific issues

6    are addressed in Section III, below.

7         With respect to his March 29, 2021 request for internal

8    communications of large numbers of FBI agents (to which he later

9    added names of Southern California FBI agents he met in 2012) (Ex. G,
10   at 3-5), the government objected to this overbroad, irrelevant
11   request, but nonetheless, in good faith, made great efforts to
12   comply, albeit with the proviso only discoverable information would
13   be produced.    Perhaps not surprising to defendant who may have wished
14   it to be so, this effort has taken considerable time.           The process
15   began with many agents recruited to review documents, which were
16   later culled, reviewed repeatedly, and then put through a multi-level
17   FBI internal approval process.       (Pinkel Dec. ¶ 4.)     Nonetheless, this
18   process is almost complete and will not result in a large number of

19   discoverable documents.

20        Nor is it true that the government has had years to investigate

21   this case and prepare discovery.       (Mot. at 10-11.)     The grand jury

22   investigation only began in August 2018, with DOJ-OIG and IRS.

23   (Pinkel Dec. ¶ 2.)     The FBI joined the investigation in October 2018;

24   search warrants were executed on defendant’s home and two business

25   locations only two months later. 2      (Dkt. 1 n.5.)     Defendant’s

26   Northern District arrest occurred just fifteen months later, after

27

28        2 Two teams of FBI agents traveled from Los Angeles and IRS
     Agents traveled from Modesto for the warrant execution.
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1    extensive investigation, two months into widespread pandemic

2    lockdowns.

3    II.   LEGAL STANDARD

4          A.   Local Rule Meet and Confer Requirements

5          Defendant failed to comply with the local rule meet and confer

6    requirements.    See Local Civ. Rule 7-3; Local Crim. Rule 57-1

7    (requiring a meeting, “preferably in person,” to “thoroughly” discuss

8    the substance of any motion and any potential resolution “at least”

9    seven days prior to filing the motion).        Instead, on the afternoon,
10   of November 30, he emailed the government to say he would be filing a
11   “discovery motion.”     Not only did defendant fail to comply with the
12   letter and the spirt of the Local Rules, but at least three of his
13   “Specific Discovery Requested,” were requested for the very first
14   time in the motion.
15         B.   Discovery

16         “There is no general constitutional right to discovery in a

17   criminal case, and Brady did not create one.”         Weatherford v. Bursey,

18   429 U.S. 545, 559 (1977).      There are three sources of the

19   government’s discovery obligations in a criminal case.           First,

20   Federal Rule of Criminal Procedure 16 (“Rule 16”) establishes

21   guidelines for pretrial production by the government of certain

22   limited materials.     Second, under Brady v. Maryland, 373 U.S. 83

23   (1963), and its progeny, including Giglio v. United States, 405 U.S.

24   150 (1972), the government must turn over to the defense evidence in

25   its possession that is exculpatory or favorable to the defendant.

26   Finally, under 18 U.S.C. § 3500 (the “Jencks Act”) and Federal Rule

27   of Criminal Procedure 26.2 (“Rule 26.2”), both parties must disclose

28   prior statements by witnesses after the witness has testified.            None

                                             3
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1    of these sources authorize “fishing expeditions” or sweeping

2    discovery requests.     See United States v. Bagley, 473 U.S. 667, 675

3    (1985).

4         Defendant bears the burden to make a threshold showing of

5    materiality and show why the requested material is logically helpful

6    to the defense.    United States v. Lucas, 841 F.3d 796, 804 (9th Cir.

7    2016) (“prima facie” showing of materiality required; “neither a

8    general description of the information sought nor conclusory

9    allegations of materiality suffice” (internal quotation marks and
10   citation omitted)); United States v. Muniz-Jaquez, 718 F.3d 1180,
11   1183-84 (defendant must establish how the information is helpful for

12   developing a defense) (citing United States v. Stever, 603 F.3d 747,

13   752 (9th Cir. 2010), and United States v. Mandel, 914 F.2d 1215, 1219

14   (9th Cir. 1990)).

15        In establishing materiality, the defendant must do more than

16   specify the items he is seeking, since materiality is “not satisfied

17   by a mere conclusory allegation that the requested information is

18   material to preparation of the defense.”         United States v. Cadet, 727

19   F.2d 1453, 1466 (9th Cir. 1984) (quoting United States v. Conder, 423

20   F.2d 904, 910 (6th Cir. 1970)) (defendant’s discovery request that

21   sought documents the government did not intend to use at trial was

22   too far ranging and potentially burdensome); see also United States

23   v. Muniz-Jaquez, 718 F.3d 1180, 1183 (9th Cir. 2013) (“general

24   descriptions of information sought and conclusory allegations of

25   materiality are insufficient”).       Even if the defendant has never seen

26   the requested documents, a concrete showing of materiality is still

27   required.   United States v. Ross, 511 F.2d 757, 763-64 (5th Cir.

28   1975).    To make that concrete showing of materiality, a defendant

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1    must demonstrate that the evidence would “alter the quantum of proof”

2    in the defense’s favor.      United States v. Marshall, 532 F.2d 1279,

3    1285 (9th Cir. 1976).

4         “[M]aterial to preparing the defense” in the Rule 16 context

5    “means the defendant’s response to the Government’s case-in-chief.”

6    United States v. Armstrong, 517 U.S. 456, 462-63 (1996) (defendant

7    not entitled to Rule 16 discovery to support his pretrial motion to

8    dismiss based on selective prosecution).         The plain language of Rule

9    16 makes clear that the term “defense” does not include “any claim
10   that is a ‘sword,’ challenging the prosecution’s conduct of the
11   case,” but rather “encompasses only the narrower class of ‘shield’
12   claims, which refute the Government’s arguments that the defendant
13   committed the crime charged.”       Id. at 462.    The Ninth Circuit has
14   additionally held that general descriptions and conclusory arguments

15   are insufficient to show materiality.        Marshall, 532 F.2d at 1285.

16   In Brady, the Supreme Court expanded the materiality requirement by

17   requiring the disclosure of evidence that is material to guilt or

18   innocence.    Brady, 373 U.S. 83.     A Brady claim cannot be based on

19   “mere speculation.”     Wood v. Bartholomew, 516 U.S. 1, 6 (1995).

20        Significantly, there is no constitutional requirement for “the

21   prosecution to make a complete accounting to the defense of all

22   evidence in its possession.”       United States v. Baxter, 492 F.2d 150,

23   173 (9th Cir. 1973) (citing Moore v. Illinois, 408 U.S. 786 (1972)).

24   Neither is there a right of the accused to rummage through government

25   files.   United States v. Williams, 580 F.2d 578, 585 (D.C. Cir.

26   1978).

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1    III. ARGUMENT

2          A.   Defendant Received Extensive Discovery Regarding Individual
                A (Specific Items 1-3)
3
                1.    The Government Has Obtained and Produced Substantial
4                     Discovery

5          As set forth in prior oppositions, the government has obtained

6    and produced substantial discovery to the defense. (Pinkel Dec. ¶¶ 4-

7    6.)   While the bulk of Jencks statements, and Brady/Giglio have been

8    produced, the government said it would produce additional items

9    within its knowledge and possession. (Ex. 1, response to Items 4-5,
10   13-14.)
11         His claims to the contrary, defendant has a wealth of impeaching
12   evidence, which he implicitly recognizes with his laundry list of
13   Individual A’s misdeeds.      (Mot. at 16.)    While defendant’s list may
14   be indicative of questions or topic areas inquired of with Individual
15   A, it does not mean that investigations exist for each topic.
16         The August 2018 plea agreement, with this office, was supplanted
17   by a much less favorable plea agreement, with increased exposure.              It
18   will be of little value to defendant, but the government nonetheless

19   will produce it.

20              2.    Defendant Long Ago Received Discovery of the Cell
                      Phone Seized by Detective Pritchard
21
           One year ago, defendant received full notice and discovery of
22
     the FBI’s obtaining and searching contents of the cell phone seized
23
     by Detective Pritchard.      (Ex. 3 (referring to Det. Pritchard.))
24
           B.   Defendant Received Discovery About the Muammar Gaddafi
25              Money (404(b) Evidence), the Existence of Which He Revealed
                to Individual A When Requesting the Use of Individual A’s
26              Private Jet (Item 7 & 5)

27         Five days after the Court denied his motion to compel Rule

28   404(b) evidence (Dkt. 81), defendant sought another bite at the apple

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1    over 404(b) evidence already produced.        Defendant seeks discovery

2    about efforts to locate or obtain from Africa money purportedly

3    belonging to Muammar Gaddafi. (Item 7.)        Not only was this the

4    subject of a prior motion, but the government produced to defendant

5    four months ago the information it had, including his own written

6    reports.   (Ex. 3 (discovery index).)

7         The Gadaffi information evolved into yet another side hustle

8    (personal) to defendant’s work as an FBI agent.          Defendant’s

9    “investigation” was “shut down” by his supervisor, but defendant told
10   Individual A, whose private jet defendant proposed to use to retrieve
11   the money and split it with Individual A.         (Dkt. 1; Ex. 4 ¶¶ 71-73
12   (Complaint) and (interview report FBI Supervisor.)
13        In another instance of defendant first requesting information
14   via this motion, he demands many items, including interview reports
15   and “criminal records,” regarding BB and CF, individuals with whom
16   defendant engaged in 404(b) conduct. (Item 5.)          Defendant has failed
17   to set forth any materiality for this request.          Moreover, the
18   government does not intend to call defendant’s associates as trial

19   witnesses; the government expects to prove the non-Gadaffi 404(b)

20   evidence through defendant’s own text messages and emails, thus the

21   requested information is not relevant.

22        C.    Defense Counsel Cannot Access Confidential Government
                Databases (Items 4 & 8)
23
          Defendant has established no basis for his counsel’s personal
24
     access to and inspection of confidential law enforcement databases.
25
     (Mot at 17-18; Items 4, 8.)      When defense counsel asked for personal
26
     access to inspect government databases via email on October 27, the
27
     government explained that it should not be a “surprise” to him that
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1    he could not.     (Ex. 1 at 1 (Nov 8, 2021 letter.)         The government

2    directed counsel to discovery where database audits had been produced

3    (id. at 2-3; citing bates 75,981-76,261), and stated it was awaiting

4    the release from the FBI of additional data regarding Broumand’s

5    improper database searches, which just arrived.         3   (Id. at 7.)

6          A request for a personal inspection of law enforcement databases

7    is without authority, and must be denied.         At trial, any argument

8    defense counsel chooses to make about the databases search results,

9    would at best go to weight rather than admissibility.
10         D.    Defendant Never Previously Asked for Individual A’s
                 Personal and Corporate Tax Returns and In Any Event Is Not
11               Entitled to Them (Item 6)
12         With no prior request, no authority, no effort to demonstrate
13   materiality to developing an actual defense as trial, defendant
14   demands the personal and corporate tax returns of Individual A.
15   (Mot. at 17; Item 6.)      The request should be denied.
16         As a former federal prosecutor, defense counsel most assuredly

17   would know tax records fall into a very special category, especially

18   in this situation.     Defense counsel’s fishing expedition is

19   prohibited both by 26 U.S.C. § 6103, et seq., and the rules of

20   discovery.    Unlike other documents, tax returns are generally

21   shielded from discovery pursuant to the confidentiality protections

22   enacted by Congress in Section 6103.        Beyond that, the general rules

23   of discovery apply.      Information is only discoverable to the extent

24   it falls within the ambit of Rule 16, Brady/Giglio, or the Jencks Act

25   and Rule 26.2.     Particularly in light of the congressional mandate in

26   Section 6103, the government cannot obtain and disclose an

27

28         3The information was received at the U.S. Attorney’s Office on
     December 6 for discovery processing.
                                        8
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1    individual’s tax returns unless defendant satisfies his burden of

2    demonstrating materiality and a court orders the production.

3    Moreover, a criminal prosecutor can only obtain tax returns under

4    limited circumstances, not present here, as part of a tax

5    investigation of that person, or pursuant to an ex parte application,

6    neither of which applies to Individual A in this case.

7          E.    Defendant Cannot Demand A List of Names and Job Titles of
                 Law Enforcement Who Associated with Individual A (Item 10)
8
           Defendant demands for the first time in this motion
9
     “[d]isclosure of the names and job titles of all state and federal
10
     law enforcement officer or agents know to have associated with
11
     Individual A in a personal or professional relationship.”            (Mot at
12
     10; Item 10.)     Aside from his failure to meet and confer, the
13
     government’s discovery discloses names of which the government is
14
     aware.     No rule requires the government in a criminal case to list
15
     out for defendant, as if in response to a civil Interrogatory,
16
     information available in the discovery.         This request should be
17
     denied.
18
           F.    Request for Expert Witness Disclosure is Premature and
19               Improper (Item 9)

20         Defendant cites no authority requiring the government to provide

21   this information a full eight weeks before trial.           The government is

22   still preparing for trial.       When a determination is made about expert

23   testimony, defendant will be given timely notice.

24         G.    Defendant Has Never Established Materiality Nor His
                 Entitlement to All Emails Since 2012 for Himself and Five
25               Other FBI Agents (Item 11)

26         While conceding the government has produced internal FBI emails

27   and represented that more were awaiting approval and release from the

28   FBI (Mot. at 19), defendant contends this entitles him to move to

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1    dismiss the indictment or compel discovery.          Defendant has requested

2    vast amounts of largely irrelevant, non-discoverable information

3    including all of his own internal communications since 2012, and for

4    a host of FBI agents, who are either investigating him (Torbic,

5    Rock), whose corruption case against Cisneros he obstructed (Adkins;

6    Cisneros I) or the FBI Los Angeles Counter-Intelligence supervisors

7    circa 2012 (Race and Bone).       The government has repeatedly objected

8    to this overbroad request which seeks information that is not

9    discoverable, but has also said repeatedly that it will provide
10   discoverable information.       (Ex. 1 at 3.)    There is no basis to
11   compel.
12   IV.   DISMISSING THE INDICTMENT, COMPELLING DISCOVERY OR CONTINUING
           THE TRIAL ARE UNWARRANTED
13
           Defendant’s claims of a “large gap of highly relevant Brady,
14
     Giglio, and Jencks” falls flat.        The government has and will continue
15
     to comply with its discovery obligations.         Dismissal of the
16
     Indictment is unwarranted.       Similarly, the motion to compel discovery
17
     and continue the trial, is a thinly-veiled attempt to manufacture
18
     discovery disputes to cause delay, and should be denied.
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